The Honorable Claire C. McCaskill Missouri State Auditor State Capitol Building Jefferson City, MO  65101
Dear Auditor McCaskill:
You have submitted to us a fiscal note and fiscal note summary prepared pursuant to Section 116.175, RSMo, concerning a proposed constitutional amendment regarding technology parks. The fiscal note summary that you submitted is as follows:
    This proposal would reallocate approximately $13,264,562 annually from the programs administered by the Department of Economic Development towards the development of Technology Parks in Missouri. The amount reallocated may increase or decrease in future years.
Pursuant to Section 116.175, we approve the legal content and form of the fiscal note summary. Since our review of the fiscal note summary is mandated by statute, no action we take with respect to such review should be construed as an endorsement of the petition or as the expression of any view regarding the objectives of its proponents.
Sincerely,
                                    JEREMIAH W. (JAY) NIXON Attorney General